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             O W ’HII ii.
        at a”iatkiC
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          I his matter hating been opentd to the C
                                                         nuit k Paul .1. 1 ishnian. 1 ‘titled States
                                                                                                       :ltornes for
 tile I)itrict of Nat Jersey Uon
                                      athan      .   RomanL.n. sisunt 1. .S. ttoiney
                                                                                     . appearingi. and
 Jefendant J:WKLVN RUth OWl IL.
                                              a k a “Jackie” ii attrenee Ci.     dIe. Isq . appearingk for an
 order granting a continuance ol’ the
                                                ploceeJi%s in tile abo c-ca
                                                                            ptioned           matter: and t”o
 continuances hating pre iously been gra
                                               nted: anti the dekndant being ass:ue
                                                                                           that she has the right
to hate the matter presented to a Gra
                                        nd Jun ttithin thin’ tWIt Jays
                                                                             of’ the date of her arrest pur5uani
to title IS U.S.C’.    3161: and the Jekndant through tier
                                                           attor        ney hating tahed such rights and
consented to the continuance: and for
                                          good and cufikient ca e sho’t a.
        It 15 11th FINI)1SG 01’ .1 IllS (‘01
                                                       RI that this action should be continu
                                                                                                       ed tbr the
totiots ing reasons:

                1. PIca negotiations curremly are
                                                         in progress. and both the I. tilled
                                                                                                States and the
       Jekndant desire additional time to
                                                 enter a pica in (‘‘wl. ‘shidi ttcwld
                                                                                          thcreb render tr’al
        ilthh matter

               2 L)efinid,uit has conanted to th. afn
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               .   the grant of a continuance ‘iilI InLe
                                                            t) eo’iseie judicial resources.
              4. Pursuant to title 1 S of the I nite
                                                         d Statcs (‘oie, Sect inn 3 lO I h)(7
                                                                                               )(A). the etids
      of justice sen ed by granting the cnn
                                               tinaance outtt ajli ‘he best inten ests
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      detbidanis in a speedy trial.
Case 3:12-mj-02547-DEA             Document 95           Filed 11/27/12         Page 2 of 2 PageID: 263

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                                            lION. DOUG
                                            United States             Judge




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(         ibr Delbndant Jacklvn Ruhlow
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